 

Case 1:17-Cv-O7079-A.]N Document 16 Filed 01/17/18 Page 1 of 1

Representing Managernent Exclusively in Workplace Law and Related Litigation

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January l7, 2018

VIA ECF

Alison J. Nathan, United States District Judge
United States District Court

Southern Distriet ofNeW Yorl<

40 Foley Square, Room 2102

New Yorl<, NY 10007

Re: Patricia Bentivegna v. ()dyssey House, Inc. and Durga Vallal)haneni
Civil Action No.: 17-CV-()7079(A.]N)

 

Dear lodge Nathan:

We are attorneys for Det`endants Odyssey House, Ine. and Durga Vallabhaneni
(“Defendants”) in the above-referenced aetion. Pursuant to the Court’S Order dated December 15,
2017, (Dool<et No. 15), the Parties submit this joint letter to update the Court regarding the status
of mediation The mediation is currently scheduled for Fel)ruary 22, 2()l8. 'l`he Parties Will
provide an update to the Court following the mediation

Very truly yours,
JAC S

   
 

cc Via ECF: Kevin P. Connolly
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